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                               UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MARYLAND
                                                        NORTHERN DIVISION

In re: ANN L.H. SCHULMEYER                                                                               Case No.: 14-21083-DER

                Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Gerard R. Vetter, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 07/14/2014.
2) The plan was confirmed on 12/11/2014.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was converted on 04/19/2016.
6) Number of months from filing or conversion to last payment: 22.
7) Number of months case was pending: 23.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All Checks distributed by the trustee relating to this case have not cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:           $39,169.12
       Less amount refunded to debtor:                       $2,562.36
 NET RECEIPTS:                                                                  $36,606.76

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                  $3,000.00
       Court Costs:                                                                  $.00
       Trustee Expenses and Compensation:                                      $2,843.00
       Other:                                                                        $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $5,843.00

 Attorney fees paid and disclosed by debtor:               $1,000.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim         Principal           Interest
Name                                        Class             Scheduled         Asserted           Allowed       Paid                Paid

ABERDEEN PROVING GROUND FCU                 Unsecured               63.00              NA               NA              .00                 .00
AMERICAN INFOSOURCE LP                      Unsecured              274.00          672.81           672.81          237.11                  .00
ATLAS ACQUISITIONS LLC                      Unsecured                    NA        114.34           114.34           40.27                  .00
CBSD/SEARS                                  Unsecured            2,460.00              NA               NA              .00                 .00
CITI                                        Unsecured            4,903.00              NA               NA              .00                 .00
CITIBANK                                    Unsecured              779.00              NA               NA              .00                 .00
COMPTROLLER OF THE TREASURY                 Priority             2,500.00        2,057.00          2,057.00       2,057.00                  .00
COMPTROLLER OF THE TREASURY                 Unsecured                    NA        283.00           283.00           99.73                  .00
GOSHEN MORTGAGE LLC                         Secured            100,000.00       76,736.65       76,736.65        10,738.56                  .00
HARFORD COUNTY MARYLAND                     Secured                      NA        140.00               .00             .00                 .00
INTERNAL REVENUE SERVICE                    Priority             3,159.23       13,764.56       13,764.56        13,764.56                  .00
INTERNAL REVENUE SERVICE                    Unsecured                    NA      4,310.39          4,310.39       1,519.05                  .00


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                                 UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MARYLAND
                                                       NORTHERN DIVISION

In re: ANN L.H. SCHULMEYER                                                                              Case No.: 14-21083-DER

                Debtor(s)

                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim           Claim        Principal           Interest
Name                                        Class             Scheduled           Asserted        Allowed      Paid                Paid

JEFFERSON CAPITAL SYSTEMS LLC               Unsecured            3,121.96         2,464.84        2,464.84        868.65                  .00
M&T BANK                                    Unsecured              757.00         1,237.76        1,237.76        436.21                  .00
MIDLAND CREDIT MANAGEMENT INC               Unsecured              886.00           885.78          885.78        312.16                  .00
NATIONWIDE INSURANCE                        Unsecured               84.00              NA               NA            .00                 .00
ONEMAIN FINANCIAL                           Unsecured           10,074.54              NA               NA            .00                 .00
PYOD LLC ASSIGNEE OF CITIBANK               Unsecured            1,959.00         1,959.21        1,959.21        690.46                  .00
TARGET                                      Unsecured              346.00              NA               NA            .00                 .00
VILLAGE OF BYNUM RUN I HOA INC              Unsecured            2,125.15              NA               NA            .00                 .00

 Summary of Disbursements to Creditors:                                                           Claim        Principal           Interest
                                                                                                  Allowed      Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00           .00                  .00
     Mortgage Arrearage:                                                                         76,736.65     10,738.56                  .00
     Debt Secured by Vehicle:                                                                          .00           .00                  .00
     All Other Secured:                                                                                .00           .00                  .00
 TOTAL SECURED:                                                                                  76,736.65     10,738.56                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00           .00                  .00
     Domestic Support Ongoing:                                                                         .00           .00                  .00
     All Other Priority:                                                                         15,821.56     15,821.56                  .00
 TOTAL PRIORITY:                                                                                 15,821.56     15,821.56                  .00

 GENERAL UNSECURED PAYMENTS:                                                                     11,928.13      4,203.64                  .00

 Disbursements:
        Expenses of Administration:                                                             $5,843.00
        Disbursements to Creditors:                                                            $30,763.76
 TOTAL DISBURSEMENTS:                                                                                                           $36,606.76

     12) The trustee certifies that the foregoing summary is true and complete and all administrative matters for which the trustee is
     responsible have been completed. The trustee requests that the trustee be discharged and granted such other relief as may be just
     and proper.


                  Date:     06/09/2016                                      By:   /s/Gerard R. Vetter
                                                                                  Interim Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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